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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
                     Plaintiff,    §
                                   §
vs.                                §           Adv. Proc. No. 21-03005-sgj
                                   §
NEXPOINT ADVISORS, L.P., JAMES     §           Case No. 3:21-cv-00880
DONDERO, NANCY DONDERO, AND        §
THE DUGABOY INVESTMENT TRUST,      §
                                   §
                     Defendants.   §
                                   §
                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                   §
                                   §
                     Plaintiff,
                                   §           Adv. Proc. No. 21-03004-sgj
                                   §
vs.
                                   §           Case No. 3:21-cv-00881
HIGHLAND CAPITAL MANAGEMENT FUND §
                                   §
ADVISORS, L.P.,
                                   §
                                   §
                     Defendant.    §
                                    §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                    §
                                    § Adv. Proc. No. 21-03003-sgj
                        Plaintiff,
                                    §
                                    § Case No. 3:21-cv-01010
vs.
                                    §
JAMES DONDERO, NANCY DONDERO, AND §
                                    §
THE DUGABOY INVESTMENT TRUST,
                                    §
                                    §
                        Defendants.
                                    §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                    §
                                    §
                      Plaintiff,
                                    § Adv. Proc. No. 21-03006-sgj
                                    §
vs.
                                    § Case No. 3:21-cv-01378
HIGHLAND CAPITAL MANAGEMENT         §
                                    §
SERVICES, INC., JAMES DONDERO,

                                      1
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 NANCY DONDERO, AND THE                                             §
 DUGABOY INVESTMENT TRUST,                                          §
                                                                    §
                                   Defendants.                      §
                                                                    §
                                                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                    § Adv. Proc. No. 21-03007-sgj
                                                                    §
                                   Plaintiff,
                                                                    § Case No. 3:21-cv-01379
 vs.
                                                                    §
                                                                    §
 HCRE PARTNERS, LLC (n/k/a NexPoint
                                                                    §
 Real Estate Partners, LLC), JAMES
                                                                    §
 DONDERO, NANCY DONDERO, AND
                                                                    §
 THE DUGABOY INVESTMENT TRUST,
                                                                    §
                                                                    §
                                   Defendants.

                             ORDER GRANTING
             DEFENDANT’S MOTION TO CONSOLIDATE THE NOTE CASES

         Before this Court is Defendant’s Motion to Consolidate the Note Cases [Doc. No. 16] (the

“Motion”). Having considered the Motion the Court finds that consolidation of the Note Cases is

warranted under Rule 42(a) of the Federal Rules of Civil Procedure and that the interests of judicial

efficiency are best served by consolidation of the Note Cases under Case No. 3:21-cv-881.

Consolidating the cases under 3:21-cv-881 best services judicial efficiency because (a) Case No.

3:21-cv-881 is the lowest-numbered case in the Dallas Division,1 and (b) because the undersigned

was originally assigned two of the five Note Cases captioned above (before transfer of the three

others to the undersigned), as well as other cases arising out of the Highland Bankruptcy.2 The

Court therefore GRANTS defendant’s motion to consolidate.



         1
            The typical procedure in consolidation actions is to consolidate under the lowest-numbered case, which
here is 3:21-cv-880, previously assigned to Judge Sam Cummings. However, the Court finds that judicial efficiency
is best served by consolidating under 3:21-cv-881 because 3:21-cv-880 and 3:21-cv-881 were filed in district court on
the same day and several other factors (explained above the line) are served by consolidation under 881 as opposed to
880.
          2
            In 3:21-cv-1010, the plaintiffs moved to consolidate under that case. [Doc. No. 10.] That request is denied.
Importantly, plaintiffs agree that consolidation of all five note cases is warranted and promotes judicial efficiency.

                                                           2
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IT IS HEREBY ORDERED THAT:

      1.     The Note Cases are consolidated under the lead case, No. 3:21-cv-00881 for all

             purposes other than that Case No. 3:21-cv-00881-X may be tried separately (or that

             the determination of whether such case shall be tried separately is deferred until

             after all summary judgement motions are heard and decided), to be heard by the

             Honorable Judge Starr.

      2.     The cases consolidated under No. 3:21-cv-881 are:

             •   No. 3:21-cv-00880

             •   No. 3:21-cv-01010

             •   No. 3:21-cv-01378

             •   No. 3:21-cv-01379

      3.     All future filings related to all five cases shall be filed on the docket for No. 3:21-

             cv-881.

IT IS SO ORDERED this 6th day of January, 2022.



                                                    ______________________________
                                                    BRANTLEY STARR
                                                    UNITED STATES DISTRICT JUDGE




                                               3
